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               EXHIBIT 12
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Google launches new Chromecast and Chromecast Audio streaming dongles | Technology | The Guardian           Page 2 of 5   8/13/19, 9(31 AM




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                                 This article is more than 3 years old
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                                 Google launches new Chromecast
                                 and Chromecast Audio streaming
                                 dongles
                                 Updated smart TV dongle improves Wi4Fi and reduces buﬀering
                                 while new audio connector turns almost any hi4ﬁ smart with wireless
                                 audio streaming

Samuel Gibbs
Tue 29 Sep 2015
13.00 EDT




                                 Google’s new Chromecasts turn TVs and HiFis smart with wireless streaming from any iPhone, Android
                                 or computer. Photograph: Google

Google has announced two new Chromecast streaming gadgets, one for streaming video and
photos to a TV, and one for streaming music to any standard speakers.

An update to the original Chromecast, which has sold over 20m devices, the new video version
receives streams over Wi-Fi using Google’s Cast protocol from compatible apps running on an
Android or iPhone or a computer.


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The new Chromecast for the TV is a circular puck shape and plugs into the HDMI slot on a
television via an integrated short, ﬂat HDMI cable.




The new Chromecast will be available in three colours and has a
magnet that attaches the HDMI cable to the puck for storage.
Photograph: Google

The new larger circular shape contains three Wi-Fi ariels supporting the newer dual-band Wi-Fi
802.11ac version, which should provide a “more robust, high quality streaming experience for
less buﬀering than you would have found previously with the Chromecast” according to
Google’s head of Chromecast for Northern Europe, Dan Saunders.

The new device will also speed up streaming by pre-loading both apps and content it thinks
you’ll want to access. Netﬂix will load its player and predict what you’re going to watch next
and start buﬀering the video in the background before you select it so that it starts instantly
without needing to wait for the ﬁrst bit to download.

The device will also feature more games including Rovio’s Angry Birds and some racing games,
competing with Amazon’s Fire TV and Apple’s incoming new TV box.

Chromecast Audio




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Google hopes the Chromecast Audio will do for the hi-ﬁ what
streaming media boxes and the Chromecast has done for TV.
Photograph: Google

Google’s ﬁrst Chromecast Audio operates in a similar manner to the video version of
Chromecast, but connects to a pair of speakers or a hi-ﬁ via a 3.5mm line out, optical out or
standard phono (RCA) jacks.

“We’re trying to do for hi-ﬁ what we’ve done with the TV – turn your hi-ﬁ into a smart hi-ii,”
said Saunders. “If you’re used to using apps on your smartphone then using the Chromecast
should be easy, as all the processing and control is done on the phone.”

The Chromecast Audio will support any audio streaming over Google Cast including Google’s
Play Music, Deezer and TuneIn radio. Spotify also announced Chromecast support, while BBC
Radio player support will be added in the near future.

Google is also working on multi-room audio streaming using the Chromecast Audio, but it will
not support the popular feature out of the box.

Google’s Chromecast app for iOS and Android is also getting a makeover, suggesting new
Chromecast apps and showcasing content from apps a user already has installed. Tapping on a
show such as Breaking Bad within the new Chromecast app will take the user directly to the
show within the Netﬂix app to start streaming it.

The Chromecast app will also act as a remote control for the Chromecast streaming dongle
allowing users other than the person who initiated the stream to pause playback without
having to have the Netﬂix app or a subscription, for instance.

Both new Chromecasts are powered by a microUSB cable and will be available in the next week
or so, costing £30.

Google Chromecast review: simple, fast internet TV
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